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UNITED STATES DISTRICT COURT ys

SOUTHERN DISTRICT OF NEW YORK a

— x _

KIMBERLY SMITH, : i :
Plaintiff, : |

 

Vv.

 

PAROLE OFFICER ROBERT B.
ROSENBERG, individually and in his official ;
capacity; PAROLE OFFICER MICHAEL P. ; ORDER
KENNY, individually and in his official :
capacity, DIRECTOR OF RE-ENTRY : 20 CV 1274 (VB)
OPERATIONS BRIGITTE FORTUNE, :
individually and in her official capacity;
PAROLE OFFICER JANE DOE, individually;
and JACK AND JILL DOES I-XIV, in their
individual and official capacities,
Defendants.
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"On January 8, 2021, plaintiff filed a memorandum of law in opposition to defendants’
motion to dismiss the amended complaint. (Doc. #94).

Local Civil Rule 11.1 requires all pleadings, motions, and other papers to be “plainly
written, typed, printed, or copied without erasures or interlineations which materially deface it,”
and is “intended to set simple and easily followed minimum standards for legibility of documents
filed with the Court.” Plaintiff's memorandum is replete with typographical and formatting
errors that compromise its legibility. For example, the memorandum is aligned to the right
margin rather than to the left margin, and contains numerous and gratuitous spaces between
sentences, words, and lines, Furthermore, the memorandum contains significant typographical
errors that render counsel’s arguments incomprehensible.

Accordingly, it is HEREBY ORDERED that plaintiffs memorandum of law (Doc. #94)
is rejected for filing, and the clerk is instructed to strike the document from the docket. Plaintiff
shall refile the memorandum of law correcting the listed errors, and any other errors, by January
19, 2021. Defendants shall file their reply, if any, by January 26, 2021.

Dated: January 12, 2021
White Plains, NY
SO ORDERED:

Vu

Vincent L. Briccetti
United States District Judge

 
